                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  3:04-cr-00250-RJC

 USA,                                            )
                                                 )            ORDER
         vs.                                     )
                                                 )
 MONICA NICOLE FLOYD,                            )


        THIS MATTER is before the Court upon motion of the defendant, pro se, requesting

that the Court reduce her sentence for post-sentencing rehabilitation. (Doc. No. 760).

        The defendant relies on Pepper v. United States, 131 S. Ct. 1229 (2011); however, that

case involved re-sentencing after a defendant’s sentence had been vacated on appeal. The

Supreme Court held in that situation a judge may consider postsentencing rehabilitation in

deciding whether to vary from the advisory guideline range. Id. at 1236. Here, the defendant

never appealed her sentence; thus, even such positive circumstances as cited by the defendant are

not grounds for a sentence reduction by this Court. 18 U.S.C. § 3582(c); Fed. R. Crim. P. 35.

        IT IS, THEREFORE, ORDERED that the defendant’s motion, (Doc. No. 760), is

DENIED.

        The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.

 Signed: November 15, 2016




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